Case 0:21-cv-62199-WPD Document 6 Entered on FLSD Docket 10/25/2021 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                   CASE NO. 21-62199-CIV-DIMITROULEAS

 DISPLAY TECHNOLOGIES, LLC,

        Plaintiff,

 vs.

 MICROLIFE USA, INC.,

       Defendant.
 ____________________________________/

                                   ORDER OF DISMISSAL

        This matter comes before the Court upon the Plaintiff’s Notice of Voluntary Dismissal,

 filed October 25, 2021. [DE 5] (the “Notice”). The Court having considered the Notice and being

 otherwise fully advised in the premises, it is ORDERED AND ADJUDGED as follows:

        1.      The Notice [DE 15] is APPROVED;

        2.      Pursuant to Rule 41(a)(1)(A), the above-styled action is hereby DISMISSED;

        4.      The Clerk is DIRECTED to CLOSE this case and DENY AS MOOT any pending

                motions.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

 25th day of October, 2021.




 Copies furnished to:
 Counsel of Record




                                               1
